










Opinion issued January 12, 2006







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In The
Court of Appeals
For The
First District of Texas
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NO. 01-05-01084-CR
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JIMMY L. DORSEY, Relator




Original Proceeding on Petition for Writ of Mandamus



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MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Jimmy L. Dorsey, has filed a petition for writ of mandamus,
complaining that his sentence has been incorrectly calculated by the Board of
Pardons and Paroles.   The petition for writ of mandamus is denied.PER CURIAM
Panel consists of Chief Justice Radack, and Justices Alcala and Bland.


